         Case 1:16-cv-00303-SPB Document 33 Filed 03/12/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA

JANE DOE as next friend for “FIONA,” a minor,               Civ. No. 1:16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for
“SKYLAR” and “SAVANNAH,” minors,                            JOINT STATUS REPORT
JOHN DOE as next friend for “SALLY”
and “SIERRA,” minors, and “SARAH”

                                       Plaintiffs,
v.

KIRK NESSET,

                                       Defendant.


Pursuant to the Court’s orders of December 1, 2017 [Document 30] and July 10, 2017

[Document 26] for a Joint Status Report, the parties propose the following deadlines:

       Motions for Summary Judgment due on or before August 1, 2018

       Motions in limine / Daubert motions due on or before October 1, 2018

       Post-Dispositive Motions Joint Status Report by November 1, 2018

Concerning settlement possibilities, the parties have engaged the Honorable Kenneth J. Benson

to conduct a mediation which is scheduled for Friday, April 27, 2018. The parties will report the

outcome of that mediation to the Court on or before May 11, 2018.


                                             Respectfully submitted,

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Case 1:16-cv-00303-SPB Document 33 Filed 03/12/18 Page 2 of 2



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                              2
